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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



ANDREW H. WARREN,

              Plaintiff,

v.                                           CASE NO. 4:22cv302-RH-MAF

RON DESANTIS,

              Defendant.

________________________________________/


                       ORDER ON DEPOSITIONS OF THE
                       GOVERNOR AND CHIEF OF STAFF


       This case arises from the Florida Governor’s suspension of an elected State

Attorney, Andrew H. Warren, ostensibly for announcing he would not prosecute

cases of certain kinds. The Governor has not identified a single case Mr. Warren

failed to prosecute. Mr. Warren asserts the suspension violated the First

Amendment. The issues include the Governor’s actual motivation for the

suspension and, if improperly motivated in substantial part, whether the Governor

would have made the same decision anyway, without the improper motivation.

       Citing the “apex doctrine,” the Governor has moved for a protective order

barring depositions of the Governor and his chief of staff, James Uthmeier. Mr.

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Warren asserts the apex doctrine does not apply, but he does not oppose entry of a

protective order subject to two conditions: first, that the Governor will be barred

from calling himself or Mr. Uthmeier as a witness at the trial; and second, that this

will not foreclose Mr. Warren from calling the Governor or Mr. Uthmeier as a

witness at the trial.

       These are reasonable limitations. In the circumstances of this case, the apex

doctrine does not preclude a deposition of the Governor if he will call himself as a

witness at the trial. Similarly, the doctrine does not preclude a deposition of Mr.

Uthmeier if the Governor will call him as a witness at the trial. And the Governor’s

motion does not present the separate question whether Mr. Warren may call the

Governor or Mr. Uthmeier as a witness at trial—that issue need not be resolved at

this time.

       Mr. Warren’s conditional consent to a protective order makes it unnecessary

to resolve the question whether the apex doctrine would preclude the depositions if

the Governor did not expect to call these witnesses.

       For these reasons,

       IT IS ORDERED:

       1. The Governor’s motion, ECF No. 91, for a protective order barring

depositions of the Governor and Mr. Uthmeier is granted in part by consent.




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       2. By November 3, 2022, the Governor must file a notice stating whether he

waives the right to call himself as a witness at the trial and stating whether he

waives the right to call Mr. Uthmeier as a witness at the trial.

       3. If the notice states that the Governor waives the right to call himself as a

witness at the trial, then (a) the Governor will not be allowed to call himself as a

witness at the trial, and (b) Mr. Warren will not be allowed to depose the

Governor. The same for Mr. Uthmeier.

       4. If the notice does not state that the Governor waives the right to call either

himself or Mr. Uthmeier as a witness at the trial, the Governor may file a reply

memorandum by November 3 in support of his motion for a protective order.

       5. This order does not bar Mr. Warren from conducting a Federal Rule of

Civil Procedure 30(b)(6) deposition and does not bar Mr. Warren from calling the

Governor or Mr. Uthmeier as a witness at the trial.

       SO ORDERED on October 30, 2022.

                                  s/Robert L. Hinkle
                                  United States District Judge




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